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TO: Clerk’s Office
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
________________________________________

     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                           A) If pursuant to a prior Court Order:
********************************                                                           Docket Number of Case in Which Entered:___________________
UNITED STATES OF AMERICA
                                                                                           Judge/Magistrate Judge:__________________________________
                                                                                           Date Entered:___________________________________________
              -v.-                                    23-MJ-757
         -v.-                                         _____________________
EMILIA MATHIAS                                        Docket Number

********************************
                                                                                           B) If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiff____ Defendant____ DOJ ____     ✔                                   authorizes filing under seal
       Andrew M. Roddin
Name:__________________________________________
Firm Name:______________________________________
          U.S. Attorney's Office, Eastern District of New York                             Ongoing criminal investigation; need to prevent flight from prosecution,
                                                                                           __________________________________________________________
Address:_________________________________________
          271-A Cadman Plaza East                                                          __________________________________________________________
                                                                                           change in patterns of behavior, or destruction or tampering with evidence.
________________________________________________
          Brooklyn, New York 11201
Phone Number:___________________________________
               (718) 254-6455                                                              ORDERED SEALED AND PLACED IN THE CLERK’S OFFICE,
E-Mail Address:___________________________________
               Andrew.Roddin@usdoj.gov                                                     AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                           THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO ✔ __
If yes, state description of document to be entered on docket sheet:                       DATED: Brooklyn                          , NEW YORK
                                                                                                                              8/24/23
__________________________________________________                                         _________________________________________________________

__________________________________________________                                         U.S. MAGISTRATE JUDGE

                                                                                           RECEIVED IN CLERK’S OFFICE___________________________
                                                                                                                            DATE
MANDATORY CERTIFICATION OF SERVICE:
A.) ___ A copy of this application either has been or will be promptly served upon all parties to this action, B.) ___ Service is excused by 31 U.S.C. 3730(b), or by
                                                          ✔
the following other statute or regulation:______; or C.) ____This is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)

                           August 24, 2023
                           __________________                  ______________________________
                              DATE                                      SIGNATURE
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AB:AMR

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X                               To Be Filed Under Seal

UNITED STATES OF AMERICA                                   COMPLAINT AND
                                                           AFFIDAVIT IN SUPPORT
             - against -                                   OF APPLICATION FOR
                                                           ARREST WARRANT
EMILIA MATHIAS,
                                                           (18 U.S.C. § 111(a)(1))
                           Defendant.

---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

                  MATTHEW COUGHLIN, being duly sworn, deposes and states that he is a

Special Agent with the Federal Bureau of Investigation, duly appointed according to law and

acting as such.

                  On or about August 22, 2023, within the Eastern District of New York and

elsewhere, the defendant EMILIA MATHIAS did knowingly and intentionally forcibly assault,

resist, oppose, impede, intimidate, and interfere with a person designated in Section 1114 of Title

18 of the United States Code, to wit: a United States Customs and Border Protection Officer,

while such employee was engaged in and on account of the performance of official duties, and

such acts involved physical contact with the victim.

                  (Title 18, United States Code, Section 111(a)(1))

                  The source of your deponent’s information and the grounds for his belief are as

follows: 1



        1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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                                                                                                 2

                 1.   I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

have been involved in the investigation of numerous cases, including cases involving violent

crime against employees of the United States. I am familiar with the facts and circumstances set

forth below from my participation in the investigation; discussions with witnesses; my review of

the investigative file; and from reports of other law enforcement officers involved in the

investigation.

                 2.   As discussed further below, on August 22, 2023, a United States Customs

and Border Protection (“CBP”) Officer was forcibly assaulted at John F. Kennedy International

Airport (“JFK Airport”) in Queens, New York while performing her official duties.

                 3.   On August 22, 2023, the defendant EMILIA MATHIAS attempted to

enter a secure CBP-controlled area within JFK Airport. Uniformed CBP Officers working at

JFK Airport spoke with MATHIAS, told her she could not enter the secure area, and tried to get

MATHIAS to turn back. MATHIAS refused, and the CBP officers tried to physically escort her

away from the secure area. As is captured on video, MATHIAS then physically struck one of

the officers.

                 4.   I have reviewed surveillance video showing a person subsequently

identified as the defendant EMILIA MATHIAS wheeling luggage and interacting with CBP

officers wearing uniforms inside of Terminal 4 at JFK Airport. The video shows other

passengers with luggage walking toward and through a door and CBP officers gesturing in that

direction while speaking with MATHIAS. The video shows MATHIAS gesturing in the

opposite direction, away from the door and toward the direction that the other passengers are

walking from. The video then shows a CBP officer touching MATHIAS and directing her

toward the door that the other passengers are walking through, at which point MATHIAS is
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                                                                                             3

shown making a chopping motion with her hand and striking the CBP officer in the neck. Two

still images from the above-described surveillance video appear below as Figures 1 and 2.

MATHIAS is shown wearing orange near the center of the frame, as indicated by a red oval.




                                            Figure 1




                                            Figure 2
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                                                                                                      4




               5.      The defendant EMILIA MATHIAS was subsequently advised of her

Miranda rights, which she agreed to waive. She stated in sum, in substance and in part that she

had been tired after a long flight and was looking for her luggage, when someone directed her

toward the secure CBP-controlled area. MATHIAS further stated that she had wanted to defend

herself and knew she had done a bad thing.

               6.      I respectfully request that the Court issue an order sealing, until further

order of the Court, all papers submitted in support of this application, including the affidavit and

arrest warrant. This matter relates to an ongoing criminal investigation that is not yet public,

and premature disclosure of the contents of this affidavit and related documents would seriously

jeopardize the investigation, including by giving the defendant an opportunity to flee from

prosecution, change patterns of behavior or destroy or tamper with evidence.

               WHEREFORE, your deponent respectfully requests that an arrest warrant be

issued for the defendant EMILIA MATHIAS so that she may be dealt with according to law.
                                                                        Digitally signed by Matthew
                                              Matthew Coughlin Coughlin
                                                               Date: 2023.08.24 12:51:58 -04'00'


                                              MATTHEW COUGHLIN
                                              Special Agent
                                              Federal Bureau of Investigation

Sworn to before me by telephone
     24 day of August, 2023
this ___


____________________________________________
THE HONORABLE LOIS BLOOM
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                  __________   Districtofof
                                                                         New  York
                                                                            __________

                  United States of America
                             v.                                     )
                         Emilia Mathias                             )        Case No.    23-MJ-757
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Emilia Mathias                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Assaulting, resisting or impeding certain officers or employees, 18 U.S.C. § 111(a)(1)




Date:         08/24/2023
                                                                                           Issuing officer’s signature

City and state:       Brooklyn, New York                                     Hon. Lois Bloom, United States Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not for Public Disclosure)

Name of defendant/offender:             MATHIAS, Emilia

Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:            12/06/1964

Social Security number:
Height:                                                                 Weight:
Sex:                                                                    Race:
Hair:                                                                   Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:             Federal Bureau of Investigation, JFK Airport RA


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
